





















&nbsp;

Opinion issued October
27, 2011.



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&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

In
The

Court of Appeals

For The

First District of
Texas

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&nbsp;



NO. 01-11-00560-CR

____________

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ROBERT JOHN WHEELER, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;

&nbsp;

On Appeal from the 230th
District Court

Harris County, Texas

Trial Court Cause No. 1279235

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&nbsp;



MEMORANDUM
OPINION








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
Robert John Wheeler, pleaded guilty to the offense of driving while
intoxicated, third offense.&nbsp; The trial
court found appellant guilty, and, in accordance with the terms of appellant’s
plea agreement with the State, sentenced appellant to five years’ confinement,
sentence suspended and appellant placed on five years’ community supervision.&nbsp; Appellant filed a pro se notice of appeal. &nbsp;We dismiss the appeal. 

In a plea bargain case, a defendant
may appeal only those matters that were raised by written motion filed and
ruled on before trial, or after getting the trial court’s permission to appeal.&nbsp; Tex.
R. App. P. 25.2(a)(2).&nbsp; An appeal
must be dismissed if a certification showing that the defendant has the right
of appeal has not been made part of the record. &nbsp;Tex. R.
App. P. 25.2(d).

Here, the trial court’s certification
is included in the record on appeal. See
id. &nbsp;The trial court’s certification
states that this is a plea bargain case and that the defendant has no right of
appeal. &nbsp;See Tex. R. App. P.
25.2(a)(2).&nbsp; Appellant did not appeal any
pre-trial matters, and the trial court did not give permission for appellant to
appeal. The record supports the trial court’s certification. See Dears v. State, 154 S.W.3d 610, 615
(Tex. Crim. App. 2005).&nbsp; Because
appellant has no right of appeal, we must dismiss this appeal.&nbsp; See Chavez
v. State, 183 S.W.3d 675, 680 (Tex. Crim. App. 2006) (“A court of appeals,
while having jurisdiction to ascertain whether an appellant who plea-bargained
is permitted to appeal by Rule 25.2(a)(2), must dismiss a prohibited appeal
without further action, regardless of the basis for the appeal.”). 

Accordingly, we dismiss the appeal
for want of jurisdiction.&nbsp; We dismiss all
pending motions as moot.

PER CURIAM

Panel consists of Justices Keyes, Higley, and Massengale.

&nbsp;

Do not publish.&nbsp;
Tex. R. App. P. 47.2(b). 





